
Tubney, J.,
delivered the opinion of the Court.
In this case the complainants have failed to make out the fraud in the sale from J. G-. Williamson to his sons.
The bill of Sloane is based upon the single proposition of such fraud; the bill of Hansboro proceeds first upon the idea of fraud, and if that be not established, that the remainder of purchase money due the father from the sons be attached and applied to pay his debt. This gives him priority as to the unpaid purchase money.
The cause is remanded to ascertain the balance due, after which, unless the purchaser pay the amount into the office of the Clerk and Master within two months, the land, or a sufficiency of it, will be sold to make the payment, which will be applied first to the debt of Hansboro, the re*508mainder to J. Q-. 'Williamson. The complainants will each pay such costs as have accrued in Ms case.
The decree of the Chancellor is reversed.
